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12
                          UNITED STATES DISTRICT COURT
13
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
14
15 Amazon Content Services, LLC;             Case No. 2:18-cv-03325
   Columbia Pictures Industries, Inc.;
16 Disney Enterprises, Inc.; Netflix         NOTICE OF RELATED CASE
   Studios, LLC; Paramount Pictures          [LOCAL CIVIL RULE 83–1.3.1]
17 Corporation; Sony Pictures Television
   Inc.; Twentieth Century Fox Film
18 Corporation; Universal City Studios
   Productions LLLP; Universal Cable
19 Productions LLC; Universal Television
   LLC; Warner Bros. Entertainment Inc.,
20
                Plaintiffs,
21
          vs.
22
   Set Broadcast, LLC d/b/a Setvnow;
23 Jason Labossiere; Nelson Johnson,.
24               Defendants.
25
26
27
28

                                                 NOTICE OF RELATED CASES - CIV. L.R. 83-1.3.1
                                                                    CASE NO. 2:18-CV-03325
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 1          Plaintiffs notify the Court that this action appears to be related, pursuant to
 2 the provisions of Civil Local Rule 83–1.3.1, to two actions that currently are
 3 pending in this District: Universal City Studios Productions LLLP et al. v. TickBox
 4 TV LLC, No. 2:17-cv-07496-MWF-AS (hereinafter “TickBox”), and Netflix Studios,
 5 LLC et al. v. Dragon Media, Inc. et al., No. 2:18-cv-00230-MWF-AS (hereinafter
 6 “Dragon Box”). By Order entered January 11, 2018 in the Dragon Box action, the
 7 Court determined that action was related to the TickBox action; the Court ordered
 8 the Dragon Box action transferred pursuant to General Order 16-05. (No. 2:18-cv-
 9 00230-MWF-AS, Dkt. No. 13.)
10          Like the TickBox and Dragon Box actions, this action is brought by Plaintiffs
11 to halt the flagrantly infringing conduct of Defendants, whose computer hardware
12 and software products link paying customers to third-party sources that transmit
13 infringing streams of Plaintiffs’ copyrighted works. In the TickBox and Dragon Box
14 actions, the devices were branded under the names “TickBox” and “Dragon Box,”
15 respectively. In this action, Defendants brand their infringing subscription service
16 “Setvnow,” and their set-top box the “ST-110 Set Top Box.”
17          There is substantial overlap among the Plaintiffs and works at issue across the
18 three actions. Eight of the 11 Plaintiffs in this action have alleged similar claims for
19 inducement liability against the defendants in the TickBox and Dragon Box actions.1
20          This action and the TickBox and Dragon Box actions “call for determination
21 of the same or substantially related or similar questions of law and fact.” Civ. L.R.
22 83–1.3.1(b). These questions include the scope of inducement liability under Metro-
23 Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913 (2005), and Columbia
24   1
       The additional Plaintiffs in this action are affiliates of parties that are plaintiffs in
25   the TickBox and Dragon Box actions, and in this action. Sony Pictures Television
26   Inc. is an affiliate of Columbia Pictures Industries, Inc.; Universal Cable
     Productions LLC and Universal Television LLC are affiliates of Universal City
27   Studios Productions LLLP. These three Plaintiffs own or control additional
28   copyrighted television shows, the infringement of which Defendants induce.
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                                                         NOTICE OF RELATED CASES - CIV. L.R. 83-1.3.1
                                                                            CASE NO. 2:18-CV-03325
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1 Pictures Industries, Inc. v. Fung, 710 F.3d 1020 (9th Cir. 2013); and the design and
2 promotion of computer hardware and software devices sold for the purpose of
3 enabling users to access infringing streams of Plaintiffs’ copyrighted works.
4          Given the overlap of legal, factual, and technological issues, Plaintiffs believe
5 that this action and the TickBox and Dragon Box actions likely would “entail
6 substantial duplication of labor if heard by different judges.” Civ. L.R. 83–1.3.1(c).
7
8 DATED: April 20, 2018                  MUNGER, TOLLES & OLSON LLP
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10                                       By:        /s/ Kelly M. Klaus
11                                           KELLY M. KLAUS
                                         Attorneys for Plaintiffs
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                                                     NOTICE OF RELATED CASES - CIV. L.R. 83-1.3.1
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